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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                      )
CORPORATION, et al.,                             )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )
                                                           Case No. 8:16-cv-00860-DKC
                                                 )
FINANCIAL INDUSTRY                               )
REGULATORY AUTHORITY, INC.,                      )
                                                 )
               Defendant.                        )
                                                 )

                                     [PROPOSED] ORDER

       This matter is before the Court on Plaintiffs’ Motion for Preliminary Injunction and

Permanent Injunction. Based on consideration of the motion, the opposition filed by Defendant,

any reply filed by Plaintiffs, the entire record herein and any argument of counsel, it is hereby

ORDERED that the motion is GRANTED, and further ORDERED that Defendant is

preliminarily and permanently enjoined from continuing the disciplinary proceeding in FINRA

Case No. 2014041724601.

       SO ORDERED.



Dated: __________________________                          _________________________
                                                           DEBORAH K. CHASANOW
                                                           United States District Judge
